Case 2:01-cr-00533-SRB Document 2 Filed 06/14/01 Page 1 of 1
UNITED STATES DISTRICT COURT [% ISTRATE JUDGE'S MINUTES

DISTRICT OF ARIZONA - Phoenix

DATE: 6/14/01 CASE NUMBER: _CR 01-00533-001-PHX-S

7 FILED _____ LODGED
____ RECEIVED ____ COPY
USA vs. _Mark Warren Sands JUN 1 8 2001
. . CLERK U S DISTRICT COURT
U.S. MAGISTRATE JUDGE: MORTON SITVER #: 70AC DIST > FOF ARIZONA
BY a DEPUTY
A.U.S. Attorney Joseph Welty INTERPRETER. _
LANGUAGE
Attorney for Defendant Carmen Fischer (Appointed)
DEFENDANT: J PRESENT C] NOT PRESENT CUSTODY
DOA_ 6/14/01 Initial Appearance KI Appointment of counsel hearing held

[Financial Afdvt taken [1] No Financial Afdvttaken (J Financial Afdvt sealed
[J Defendant states true name to be __. Further proceedings ORDERED in Defendant’s true name.

DETENTION HEARING: ARRAIGNMENT HEARING:
[] Held CI Con’t [1 Submitted (1 Reset K] Held [J Con’t [1 Reset

Set for: 6/19/01 at 2:30 PM Set for:
Before: MAGISTRATE JUDGE MATHIS Before:

KJ] Defendant ordered temporarily detained in the | pjeg of NOT guilty entered to Counts all pending.
custody of the United States Marshal

[] Defendant ordered released

[1 Defendant continued detained pending trial Defendant bound over to U.S.D.C. for trial on
8/7/01 at 9:00 AM_ in _Courtroom 502_ before_

(J Flight risk (1 Danger JUDGE BOLTON

DATE OF MOTION DEADLINE: 15 days

STATUS HEARING RE : Set for before

Other: Defendant is appointed counsel under the CJA Act with possible reimbursement by the government to

be determined later by the District Judge.

The Court specifically finds that the ends of justice served by granting this continuance outweigh the bes.
interests of the public and the defendant in a speedy trial. IT IS FURTHER ORDERED that excludable dela:
under Title 18 USC Section 3161 _ will commence on _ thru _ for a total of _ days.

RECORDED: Cass. S01-75
BY: Phylis Durbin

Ma b Deputy Clerk
3 pled, Ve 2

